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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

SHIELLA ROBERTS,
     PLAINTIFF,
                                            CASE NO. 1:20-cv-____________
VS.
                                            HON. ________________________
WALMART, INC.,
     DEFENDANT.
________________________________________________________________

Jason R. Pelak (P79618)
Attorney for Plaintiff
700 Milam Street, Suite 1300
Houston, TX 77002
Phone (832) 871-5031
Email jason@pelaklaw.com
________________________________________________________________

                                   COMPLAINT

        The plaintiff Shiella Roberts, by and through her attorney
Jason R. Pelak, for actions arising under the Family Medical
Leave Act of 1993, in connection with her protected activity and
subsequent termination by Walmart, Inc., states as follows.


                         JURISDICTIONAL ALLEGATIONS
1.      The plaintiff Shiella Roberts is an individual who resided

        and was employed in Calhoun County, State of Michigan, at

        all times relevant to this complaint.

2.      The defendant Walmart, Inc., doing business as Sam’s Club,

        was an employer at all times relevant to this complaint in

        Calhoun County, State of Michigan.

3.      This case arises under the Family Medical Leave Act of

        1993, 29 USC §2601 et seq.
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4.      This case arises out of the defendant’s employment and

        discharge of the plaintiff in the Fall of 2019 in Calhoun

        County, State of Michigan.

5.      The Court has federal-question jurisdiction for the claims

        as alleged under the Family Medical Leave Act of 1993. 28

        USC §1331.


                                  JURY DEMAND

6.      The plaintiff hereby requests a trial by jury for all

        issues that may be submitted to the same.



                              COMMON ALLEGATIONS

7.      The plaintiff Shiella Roberts began working for the

        defendant in the Summer of 2018. She was employed as a

        cashier.

8.      During the time of her employment with the defendant, and

        through her termination, Ms. Roberts did a good job for it.

9.      In the Fall of 2019, Ms. Roberts suffered from worsening

        health conditions related to asthma, coughing, and chest

        pain. She last worked on 9/23/2019; after leaving work that

        day, she requested and received FMLA papers.

10.     One of the documents received by Ms. Roberts was a document

        titled “Eligibility, Rights & Responsibilities”.




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11.   The Eligibility, Rights & Responsibilities document states

      that plaintiff met the FMLA’s basic eligibility

      requirements.

12.   The Eligibility, Rights & Responsibilities document was

      accompanied with a three-page form titled “Certification of

      healthcare provider for associate’s serious health

      condition”.

13.   The Eligibility, Rights & Responsibilities document

      requested a certification from Ms. Roberts and stated it

      was due by her on 10/13/2019, which amounts to 20 calendar

      days from the date of request.

14.   Under FMLA regulation, an employer may require the employee

      to provide a medical certification. 29 C.F.R. § 825.305(a).

15.   An employer may require the employee to provide the medical

      certification within 15 calendar days of the request,

      unless not practicable, or the employer provides more than

      15 calendar days. 29 C.F.R. § 825.305(b).

16.   If the employee fails to provide the medical certification

      then the employer may deny FMLA leave. 29 C.F.R. §

      825.305(d).

17.   On 10/10/2019, the defendant terminated Ms. Roberts by

      assessing absences against her, including absences subject

      to FMLA leave.



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18.   As a result of the discharge by the defendant, Ms. Roberts

      has suffered severe damages, including losses of income and

      other consequential damages.

19.   All conditions precedent have been performed or have

      occurred.



          COUNT 1 – FMLA INTERFERENCE BASED ON DISCHARGE

20.   The plaintiff restates and realleges as though fully set

      forth herein all prior paragraphs of this complaint.

21.   The defendant provided Ms. Roberts 20 calendar days to

      provide a medical certification.

22.   The defendant denied FMLA leave by discharging Ms. Roberts

      on the 17th calendar after the medical certification

      request.

23.   Defendant’s discharge and denial of FMLA benefits against

      Ms. Roberts constitutes an interference, restraint, or

      denial of her rights or exercise of her rights as provided

      by the FMLA.

24.   As a result, Ms. Roberts has suffered and will continue to

      suffer damages set forth above.

25.   This claim is actionable under the Family Medical Leave Act

      of 1993, 28 USC § 2601 et seq.

26.   WHEREFORE, the plaintiff requests that this Court enter a

      Judgment in her favor against the defendant, in whatever

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     amount she is shown to be entitled to including actual

     damages, lost income, and additional liquidated damages

     equal to lost income, together with interest, costs,

     attorney fees, and any other relief as the Court deems

     warranted.



                                         Respectfully submitted,

          4/6/20
Dated: _______________                   _____________________________
                                         Jason R. Pelak (P79618)
                                         700 Milam Street, Suite 1300
                                         Houston, TX 77002
                                         Phone (832) 871-5031
                                         Email jason@pelaklaw.com

                                         ATTORNEY FOR PLAINTIFF




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